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State of War, Chapter Nine
by James Risen |

Government Exhibit 132

“= GOVERNMENT
EXHIBIT

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?
A ROGUE OPERATION |

HE HAD PROBABLY done this a dozen times before. Modern digi-

tal technology had made clandestine communications with over- |
seas agents seem routine. Back in the Cold War, contacting a secret
agent in Moscow or Beijing was a dangerous, labor-intensive process
that could take days or even weeks to arrange. But by 2004, it was
possible to send high-speed, encrypted messages directly and instan-
taneously from CIA headquarters to agents in the field who were
equipped with small, covert personal communications devices. So
the officer at CIA headquarters assigned to handle communications
with the agency's spies in Iran probably didn’t think twice when she
began her latest download. With a few simple commands, she senta
secret data flow to one of the Iranian agents in the CIA's spy network.
Just like she had done so many times before.

But this time, the ease and speed of the technology betrayed her.
The CIA officer had made a disastrous mistake. She had sent infor-
mation to one Iranian agent meant for an entire spy network; the data
could be used to identify virtually every spy the CIA had inside Iran.

- Mistake piled on mistake. As the CIA later learned, the Iranian
who received the download was actually a double agent. The agent
quickly turned the data over to Iranian security officials, and it en-
abled them to “roll up” the CIA’s agent network throughout Iran.
CIA sources say that several of the Iranian agents may have been ar-

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rested and jailed, while the fates of some of the others is still un-
known (although the CIA has reportedly denied suffering any dam-
age from this incident). :

4 This espionage disaster, of course, was not reported in the press. It
raises questions about whether the CIA is blind in Iran, unable to
provide any significant intelligence on one of the most critical issues
facing the United States—whether Tehran was about to go nuclear.

5 In fact, just as President Bush and his aides were making the case

in 2004 and 2005 that Iran was moving rapidly to develop nuclear

weapons, the American intelligence community found itself unable

to provide the evidence to back up the administration's public argu-

ments. On the heels of the CIA's failure to provide accurate prewar

intelligence on Iraq’s weapons of mass destruction, the agency was
once again clueless in the Middle East. In the spring of 2005, in the
| . wake of the CIA's Iranian disaster, Porter Goss, the CIA’s new direc-
| Nee tor, told President Bush in a White House briefing that the CIA
really didn't know how close Iran was to becoming a nuclear power.

6 The Bush administration has never publicly disclosed the extent
to which it is now operating in the blind on Iran. But deep in the
bowels of the CIA, someone must be nervously, but very privately,
wondering: Whatever happened to those nuclear blueprints we gave to
the Iranians?

7 The story dates back to the Clinton administration and February
2000, when one frightened Russian scientist walked Vienna’s winter
streets, Enveloped by the February cold, he dodged the bright red
and white Strassenbahn, the quaint electric tramcars that roll in slow
circuits around the city, while he debated whether to go through with

his secret mission.
8 I’m nota spy, he thought to himself. I'm a scientist. What am I doing
here? .
9: He fingered the package stuffed in his ovetcoat, making certain

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the priceless documents were still there and that this crazy job wasn’t
just a bad diéeam.

10 The Russian pulled the note out t of his ichie looked at the ad-
dress one more time, and then plowed ahead, confused. He knew
nothing about Vienna and quickly found himself lost along the oper-
atic city’s broad avenues. Was he looking for something called
Rueppgasse, or was it called Heinestrasse? Was he supposed to take .
Strassenbahn 21? He rode two full circuits on the S-Bahn 21 train,
searching in vain for the right stop. Should he switch to the U-Bahn,
Vienna’s subway? The Permanent Mission of the Islamic Republic of
Iran to the International Atornic Energy Agency (IAEA) wasn’t the -
easiest office in Vienna to find,

11 They could have at least given me good directions.

12 As he stumbled along into Vienna's north end, in the wagers
orous neighborhood surrounding the Praterstern U-Bahn station,
the same question pounded in his brain again and again, but he
couldn't find an answer.

13 What was the CIA thinking?

14 The Russian had good reason to be afraid. He was walking
around Vienna with blueprint for a nuclear bomb.

15 ‘To be precise, he was carrying technical designs for a TBA 480
high-voltage block, otherwise known as a “firing set,” for a Russian-
designed nuclear weapon. He held in his hands knowledge needed to
create a perfect implosion that could trigger a nuclear chain reaction
inside a small spherical core. It was one of the greatest engineering
secrets in the wotld, providing the solution to one of a handful of
problems that separated nuclear powers such as the United States
and Russia from the rogue countries like Tran that were desperate to
join the nuclear club but had so far fallen short.

16 He still couldn't believe the orders ‘he had received from CIA
headquarters. The CIA had given him the nuclear blueprints and
then sent him to Vienna to sell them—or simply give them—to che
Iranian representatives to the IAEA. With the Russian doing
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Langley’s bidding, the CIA appeared to be about to help [ran leapfrog
one of the last remaining engineering hurdles blocking its path to a
nuclear weapon. The dangerous irony was not lost on the Russian—
the IAEA was an international organization created to restrict the
spread of nuclear technology. The IAEA's Vienna headquarters, in-
side the United Nation's sprawling concrete compound, a jumble of
geometric-shaped buildings assembled like a Christmas pile of chil-
dren’s toys along the Danube River just outside the city center, was the
leading forum for international debate over the proliferation of nu-

-clear weapons technology. It was the place where the United States

came to level charges against rogue nations such as Iran and North
Korea over their clandestine nuclear programs. IAEA experts trav-
eled the world to try to police the use of nuclear power, to make cer-
tain that peaceful energy-generation programs weren't providing
cover for the clandestine development of nuclear weapons. In 2005,
the IAEA and its chief, Mohamed ElBaradei, would win the Nobel
Péace Prize for their counter proliferation efforts.

But in 2000, the CIA was coming to Vienna to stage an operation
that could help one of the most dangerous regimes in the world ob-
tain a nuclear weapon.

The Russian stood out like a poor eastern cousin on Vienna’s jeweled -
cityscape.

He was a nuclear engineer who had defected b to the United States
years earlier and quietly settled in America. He went through the
CIA's defector resettlement program and endured long debriefings
in which CIA experts and scientists from the national laboratories
tried to drain him of everything he knew about the status of Russia's
nuclear weapons program. Like many other Russian defectors be-
fore him, his tiresome complaints about money and status had gained’
him a reputation within the CIA of being difficult to manage. But! he
was too valuable for the CIA to toss away.
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20 Onesecret CIA report said that the Russian “was a known han-
dling problem due to his demanding and overbearing nature.” Yet
the same report stated that he was also a “sensitive asset” who could
be used in a “high-priority covert-action operation.”

21 Sodespite their disputes, the CIA had arranged for the Russian to
become an American citizen and had kept him on the payroll, to the
tune of $5,000 a month. It really did seem like easy money, with few
strings attached. Life was good. He was happy to be on the CIA
gravy train. .

22 Until now. The CIA was placing him on the front lines of a plan
that seemed to be completely at odds with the interests of the United
States, and it had taken a lot of persuading by his CIA case officer to
convince him to go through with what appeared to be a rogue opera-
tion.

23 The case officer worked hard to convince him—even though the
officer had doubts about the plan as well. As he was sweet-talking
the Russian into flying to Vienna, the case officer wondered whether
he was being set up by CLA management, in some dark political or
bureaucratic game that he didn’t understand. Was he involved in an

_ illegal covert action? Should he expect to be hauled before a congres-
sional committee and grilled because he was the officer who helped

_ give nuclear blueprints to Iran? The code name for this operation.
was MERLIN; to the officer, that seemed like a wry tip-off that noth-
ing about this program was what it appeared to be. He did his best to
hide his concerns from his Russian agent.

24 ‘The Russian’s assignment from the CIA was to pose as an unem-
ployed and greedy scientist who was willing to sell his soul—and the
secrets of the atomic bomb—to the highest bidder. By hook or by
crook, the CYA told him, he was to get the nuclear blueprints to the
Iranians. They would quickly recognize their value sag rush them
back to their superiors in Tehran.

25 The plan had been laid out for the defector during a CIA-
financed trip to San Francisco, where he had meetings with CIA of-
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ficers and nuclear experts mixed in with leisurely winc-tasting trips
to Sonoma Country..In a luxurious San Francisco hotel room, a sen-
ior CIA official involved in the operation walked the Russian.
through the details of the plan. He brought in experts from one of the
national laboratories to go over the blueprints that he was ‘supposed
to give the Iranians.

The senior CIA officer could see that the Russian was nervous,
and so he tried to downplay the significance of what they were asking
him to do. He told the Russian that the CIA was mounting the oper-
ation simply to find out where the Iranians are with their nuclear
program. This was just an intelligence-gathering effort, the CIA of-
ficer said, not an illegal attempt to give Iran the bomb, He suggested
that the Iranians already had the technology he was going to’ hand
over to them. It was all a game. Nothing too serious.

The Russian reluctantly agreed, but he was still clearly suspicious
of the CIA’s motives.

He was afraid because he fully understood the value of the infor-
mation he was supposed to pass to the Iranians. He certainly under-

‘stood it better than did his CIA handlers. Before he defected, he had

worked asan engineer at Arzamas-16, the original center of the Soviet
nuclear weapons program and the Russian equivalent of Los Alamos,
the home of the Manhattan Project. Founded in 1946, when Soviet
dictator Joseph Stalin was rushing to catch up with the Ameritans
and trying to turn the Soviet Union intoa nuclear power, Arzamas-16
had once been so secret that it was known only as the ‘ “installation”

or the “site.” Built on the grounds of a czarist-cra monastery, about
400 kilometers from Moscow at the old town of Sarova, the complex’s
first name was Arzamas-60, since it was 60 kilometers from the town

of Arzamas; but the Soviets realized that name was too revealing

about its location, so they changed it to Arzamas-16, In 1947, the

entire city of Sarov officially disappeared from Russian maps.
Arzamas-16 was where the Soviets buile their first atomic and hy-

drogen bombs, and today, 30,000 peng still work at nuclear

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weapons—related facilities located within a restricted area in the
heavily guarded Arzamas-16 district. It wasn’t until 1995. that Rus-
sian President Boris Yeltsin changed its name back to Sarov.

After the collapse of the Soviet Union, the United States feared
that poverty-stricken scientists from Arzamas-16 and other facilities
like it would be tempted to work for Iraq, North Korea—or Iran.
Weapons proliferation really meant the areas of scientific knowl-
edge and the spread of scientists.

The end of the Cold War meant the end of regular paychecks for
Russian nuclear scientists, and there was a real danger that Russian
technical expertise would spread like a virus to the totalitarian states
of the third world. In. the 1990s, in fact, the director of one Russian
nuclear institute killed himself, reportedly over the government’s
failure to meet his payroll. There were Russian press accounts of ura-
nium being stolen from Arzamas-16. What was to stop underpaid
Russian scientists from walking off with technical expertise, and per-
haps the blueprints and even the fissile material needed to help rogue
states build a bomb?

Fortunately, at just the right moment, two centrist American sen-
ators, one Democrat and one Republican, saw the danger and came
up with one of the most farsighted U.S. foreign relations programs
since the Marshall Plan. In 1991, Sam Nunn, a Georgia Democrat
and the party's leading voice on national security, and Richard Lugar,
a cautious Republican and former mayor of Indianapolis who had
turned himself into a foreign affairs specialist in the Senate, crafted
legislation that helped prevent a massive drain of nuclear technology
out of the former Soviet Union. Known as the Nunn-Lugar Cooper-
ative Threat Reduction Program, the legislation created joint U.S.-

. Russian programs to deactivate thousands of nuclear warheads in the

former Soviet Union, and helped rid the Ukraine, Kazakhstan, and
Belarus of the nuclear weapons they had inherited at thexime of the

breakup of the Soviet Union.
Equally important was Nunn-Lugar’s impact on the lives of
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Russian scientists, Nunn-Lugar helped more than twenty thousand
Russian experts involved in Soviet weapons programs find alterna-
tive, and more peaceful, forms of research. Arzamas-16 even forged
few, cooperative ties with Los Alamos. By 1993, Los Alamos and
Sarov were officially sister cities.

34 Behind the public face of Nunn-Lugar, the CIA was also doing’ its
part, quietly helping Russian nuclear scientists to defect and resettle
in the United States, rather than go to Iran or Iraq, providing them
new lives and enough money to keep their talents off the open mar-
ket. Itwas this CIA defector program that PEoENE the Russian tothe
United States.

35 But now, the CIA was nolonger keeping the Russian engineer off
the nuclear market, nor was it keeping Russian know-how under
wraps. The blueprints the Russian was to hand over to the Iranians
were originally from the Arzamas complex, brought to the CIA by
another defector.

36 What better way for the CIA to hide its involvement in this oper- .
ation than to have a veteran of Arzamas personally hand over the
Russian nuclear designs? .

37 His CIA case officer had coached the Russian as best he could on
how to make contact with the Iranians. It wasn’t easy; you don’t just
look up the address for the covert Iranian nuclear weapons program
in the Yellow Pages. Still, maybe there, was a way you could make
contact on the Internet. Maybe it really was as simple as sending out
e-mail.

38 ‘At the case officer’s urging, the Russian started sending messages
to Iranian scientists, scholars, and even Iranian diplomats stationed
at the [AEA in Vienna. In his e-mails, he would explain that he had
information of great interest to Iran and that he was secking a meet-
ing with someone who could hear him out. The messages were de-
signed to be playfully intriguing, but not quite mee Just enough

to promptaresponse, _
39 He also started ashaning academic conferences in the United ;
Case 1:10-cr-00485-LMB’ Document 399-8 Filed 01/14/15 Page 10 of 27 PagelD# 3039

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States attended by Iranian-American scientists. These conferences
sometimes attracted scientists visiting from Iran, and they might be
good contacts, The Russian stood out like a sore thumb among the
Iranian academics, but that was the point. He wanted people to no-

‘tice him, He was a nuclear salesman, ready for business.

OF course, it wasn’t unusual for Russian and Iranian scientists to
mix, and that was another point the CIA was counting on. There was
a well-established channel of Russian technical support for Iran’s nu-
clear power generation program. Moscow had an $800 million con-

_ teact to help Iran build a light water reactor at Bushehr. The United

States had publicly complained that Iran was using Bushehr and the
country's commercial nuclear program to advance its nuclear
weapons development efforts. American officials, in both the Clin-
ton and Bush administrations, consistently asked why Iran needed a
nuclear power program when it had so much oil and natural gas; in
one State Department statement, Washington noted that Iran annu- .
ally flares off more natural gas than Bushehr could produce. For at
least a decade, a key sticking point in U.S.-Russian diplomatic rela-
tions has been Russia’s ties to Iran and Moscow’s willingness to view
Iran as.an eager customer for Russian arms, rather than as a growing
strategic threat in the Middle East.

With Tehran serving as a major shopping bazaar for Russia’s
post-Cold War armssales, it certainly wasn’t unusual to find Russian
and Iranian technicians and bureaucrats mingling. The Russian de-
fector could exploit that tendency to make inroads with the Iranians,

As he mingled with the scientists and other academics, the Rus-
sian picked up business cards and e-mail addresses, The Russian
began to e-mail his new contacts, sending intriguing messages ex-
plaining that he wanted to talk with them about his ability to provide
materials of interest to Iran. Finally, at one conference, he hit pay dirt
when he meta physics professor visiting from Tehran. ; .

After the CIA checked out his background, the agency decided
that the contact with the Iranian professor was promising. The CIA
’ Case 1:10-cr-00485-LMB Document 399-8 Filed 01/14/15 Page 11 of 27 PagelD# 3040

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hoped the Iranian academic might serve as the Russian’s entrée into
the secret world of Tehran's nuclear program. At the least, he might
be able to put the Russian in contact with the right peoplein Iran. -
The Russian followed up his chance encounter with e-mails to
the scientist back at his university in Iran. The Russian explained

‘that he had information that was extremely important, and he _

wanted to make an offer. After some delays, the Iranian finally re-
sponded, with a wary message, asking what he had in mind.

That was enough for the CIA. Now the Russian could tell Iran-
ian officials in Vienna that he had been in touch with a respected sci-
entist in Tehran before he showed up on their doorstep.

The CIA had discovered that a high-ranking Iranian official would
be traveling to Vienna and visiting the Iranian mission to the IAEA,
and so the agency decided to take the next step and send the Russian
to Vienna at the same time. It was hoped that he could make contact
with either the Iranian ambassador to the IAEA or the visitor from
Tehran.

The CIA sent him to Vienna without any backup. Langley didn’t
want to risk exposure. The CIA station in Vienna wasn’t asked to
play any role to support the Russian; this operation was dubbed a
“special access program,” and its existence was a tightly held secret.
Only a handful of CIA officers knew of the existence of MERLIN.
Better to let the Russian get lost and fumble his way around town
than tell more officers about the operation. Sending him to Vienna
without any minders would also convince anyone watching that
he was just what he appeared to be—an amateur at this game, free-
lancing.

The Russian’s cover story was that he was the go-between for the
other Russian scientist who had brought the nuclear blueprints out of
Arzamas. In truth, he had never met the other defector, buat that
didn’t matter. The story would help answer any questions the Irani-
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ans might have about how he came to acquire the blueprints, which
were not easy to access or remove from Arzamias.

The Russian was also told not to try to hide the fact that he now
lived in the United States. His story should be as close to the truth as
possible, Just because he was living in America didn’t mean he was
working for the CIA,

But now that he was in Vienna, he was playing the role of bum- °
bling scientist too weil, unable to find the Iranian mission, uncertain
even where to get off the train. “I spent a lot of time to ask people as I
could [language problem] and they told me that no streets with this
name are around,” the Russian later explained to the CIA, in his im-
perfect English.

Maybe deep down, he didn’t want to get off the tram, and didn’t
want to find the right office. He had to find time to think.

He could not stop thinking about his trip to San Francisco, when he
had studied the blueprints the CIA had given him. Within minutes
of being handed the designs, he had identified a flaw. “This isn’t
right,” he told the CIA officers gathered around the hotel room.
“There is something wrong.” His comments prompted stony looks,
but no straight answers from the CIA men in the room. No one in the
San Francisco meeting seemed surprised by the Rissian’s assertion
thar the blueprints didn’t look quite right, but no one wanted to en-
lighten him further on the matter, either.

In fact, the CIA case officer who was the Russian’s personal han-
dler had been stunned by the Russian’s statement. During a break, he
took the senior CIA officer aside. “He wasn’t supposed to know
that,” the CIA case officer told his superior. “He wasn’t supposed to
find a flaw.” :

“Don't worry,” the senior CIA officer calmly replied. eit doesn’t

matter.”
The CIA case officer couldn't believe the senior CIA aaa Ss an-
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swer, but he still managed to’ keep his fears from the Russian, and he |
continued to train him for his mission.

_ After their trip to San Francisco, the case officer handed the Rus-
sian a sealed envelope with the nuclear blueprints inside. The Rus-
sian was told not to open the envelope under any circumstances, He
was to follow the CIA‘s instructions to find the Iranians and give
them the envelope with the documents inside. Keep it simple, and
get out of Vienna safe and alive, the Russian was told. But the defec-
tor was more worried than ever about what kind of game the CIA
was getting him into. And he had his own ideas about how he migh

play that game.

In Vienna, the Russian went over his options one more time and
made a decision. He unsealed the envelope with the nuclear blue-
prints and included a personal letter of his own to the Iranians. No
matter what the CJA. told him, he was going to hedge his bets. There
was obviously something wrong with these blueprints—so he de-
cided to mention that fact to the Iranians in his letter. They would
certainly find Haws for themselves, and if he didn’t tell them first,
they would never want to deal with him again. In his badly broken
English, the Russian addressed the Iranians as if they were academic
colleagues. He later gave a copy of his letter to the CIA.

To University:

First, let me introduce myself. I am a person, who worked for many
years in atomic industry. Please check out next page for my personal
info please.

_T would like to inform you I have very valuable information about
design and production of atomic weapon. At this time I possess a de-
scription of one of key elements of modern system, TBA 480 high-
voltage automatic block. Described device is known as a fire switch
which lets to initiate simultaneously all detonators at a weapon core
(spherical charge). I am sure other devices can be available for your
review in the future. I did not contact right people in your country dt-
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rectly because unfortunately I could not find them. Of course, I tried
many other ways to attract attention to this info by telling little bit
about what I have but it does not work, Whole misunderstanding, and
accordingly wasting time and disappointing. So I decided to offer this
absolutely real and valuable basic information for free now and you
car evaluate that, Also I sent e-mail to inform [the Iranian professor]
about this possible event. Please let him know you have this package.
. What is purpose of my offer?

If you try to create a similar device you will need to ask some prac-
tical questions. No problem. You will get answers but I expect to be
paid for that. Let's talk about details later when I see a real interest
in it, .
Now just take your time for professional study of enclosed docu-
mentation. My contact info on next page.

The Russian was thus warning the Iranians as carefully as he could
that there was a flaw somewhere in the nuclear blueprints, and he
could help them find it. At the same time, he was still going through

~ with the CIA's operation in the only way he thought would work.

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- The Russian slid his letter in with the blueprints and resealed the
envelope.
After his day of floundering around Vienna, the Russian re-
turned to his hotel, near the city's large Stadepark. He did 4 computer
search and found the right street address for the Iranian mission. His

- courage bolstered, he decided he would go back and finish the job in

the morning. —
By 8:00 a.m, he found 19 Heinstrasse, a five-story office and

apartment building with a flat, pale green and beige facadé in a quiet,
slightly down-at-the-heels neighborhood in Vienna’s north end. The
street was crowded with tobacco shops, bars, and cafes, a tanning

‘salon, even a strip club. Now the Russian realized why he had missed

it; there was no sign announcing the Iranian mission. The only proof
that this was the right place was a mail directory, with three rows of
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tenants’ names on the wall beside the building’s front door. Amid the
list of Austrian tenants, there was one simple line: "PM/Iran.” The
Iranians clearly didn’t want publicity.

The Russian’s fevered rush of adrenaline as he approached the’
building suddenly cooled when he realized the Iranian office was ©
closed for the day for some unexplained reason. Once again, he spent
the day walking Vienna, and once again mulling over the CIA's or-
ders. He returned to his hotel again that night, still Pisecing the un-
delivered documents.

He returned one last time to the Iranian mission early the next
morning and stood for a few agonizing minutes on the eapty side-

walk outside.
He came back that afternoon, and an Austrian postman finally

_ helped him make up his mind. As the Russian stood silently by, the

postman opened the building door, dropped off the mail, and walked
quietly away to complete his neighborhood rounds, His courage fi-
nally reinforced, the Russian decided to follow suit; he now realized
that he could leave his package without actually having to talk to
anyone, He slipped through the front door, and hurriedly shoved his
envelope through the inner door slot at the Iranian office.

“At 1:30 e.m, ] gota chance to be inside of the gate,” at the entrance
to the Iranian mission, the Russian later explained in writing to the
CIA. “They have two mailboxes: one after gate on left side for post
mail (I could not open it without key) and other one nearby an inter-
nal door to the mission. Last one has easy access to insert mail and also
it was locked. I passed internal door and reached the mission entry
door and put a package inside their mailbox on left side of their door.
I cover it old newspaper but if somebody wants that is possible to
remove this package from mailbox, in my opinion. I had no choice.”
‘The Russian fled the mission without being seen. He was deeply
relieved that he had finally made the handoff without ever having to
come face to face with a real live Iranian. He flew back to the United
Case 1:10-cr-00485-LMB Document 399-8 Filed 01/14/15 Page 16 of 27 PagelD# 3045

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States without being detected by either Austrian security or, more
important, by Iranian intelligence.

From its headquarters at Fort Meade, Maryland, the National Secu-
rity Agency monitors global airline reservation databases, constantly
checking on the travel arrangements of foreign officials and others
targeted by American intelligence around the world. In February
2000, the NSA was also eavesdropping on the telephone lines of the
{ranian mission in Vienna. It could intercept communications be-
tween the mission and Tehran. In addition, the NSA had broken the
codes of the Ministry of Intelligence and Security, Iran’s foreign in-
telligence service, The Americans had several different ways to track —
the movements of Iranian officials in and out of Vienna.

Just days after the Russian dropped off his package at the Iranian
mission, the NSA reported that an Iranian official in Vienna
abruptly changed his schedule and suddenly made airline reserva-
tions and flew home to Iran. The adds were that the nuclear blue-
prints were now in Tehran. .

The Russian scientist's fears about the operation were well founded.

’ He was the front man for what may have been-one of the most reck-

less operations in the modern history of the CIA, one that may have
helped put nuclear weapons in the hands of a charter member of
what President George W. Bush has called the “axis of evil.”

Operation MERLIN has been one of the most closely guarded se-
crets in the Clinton and Bush administrations. And it may not be
over. Some officials have suggested that it might be repeated against
other countries.
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77 MERLIN was born out of frustration. For more than a decade, one
post-Cold War CIA director after another went before Congress
and the nation to vow that America’s spies were now focused on new,
gathering threats posed by a set of “hard targets.” Terrorists. Rogue
nations. Weapons of mass destruction. Each new director promised
that the CIA was changing rapidly to adapt to this complex new
world in which the Soviet Union was no longer the main enemy. But

the CIA has failed in its new mission and has never found out enough
about any of these new targets. Iran’s nuclear program remains one
__ of the most impenetrable of them all.

78 Even before the disastrous collapse of its Iranian spy network in
2004, the CIA was able to pick up only fragmentary information
about Iran’s nuclear programi. Officials who are critical of the CIA's
efforts say that the agency's counterproliferation programs have re-
lied far too heavily on intelligence collected from technical meth-
ods—spy satellites, eavesdropping, and code breaking, as well as
“measurement and signature” intelligence, which includes the col-
lection and analysis of data from hidden equipment like remote
ground sensors. Lacking definitive answers about Iran's atomic pro-
gram, the CIA has instead offered a series of safe and cautious esti-
mates. Over the years, the agency has repeatedly stated that ran was
within five to ten years of becoming a nuclear power. Those five to
ten years keep stretching and expanding.

79 The Counterproliferation Division within the CIA's Directorate
of Operations, the agency's clandestine espionage arm, came up with
MERLIN and other clandestine operations as creative, if unortho-
dox, ways to try to penetrate Tehran’s nuclear development program.
In some cases, the CIA has worked jointly with Israeli intelligence on
such operations, according to people familiar with the convert pro-
gram. None are known to have worked.

80 One bizarre plan called for the sabotage of Iran's electrical grid in
areas of the country near its secret nuclear installations. The CIA

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conducted tests of the electrical sabotage equipment at the U.S. gov-
ernment’'s Nevada nuclear test range. The plan called for an electro- .
magnetic pulse device that could be smuggled into Iran and then
hidden next to large power transmission lines carrying electricity
into the country’s nuclear facilities. The CIA would later remotely
detonate the device, which would send a massive electrical pulse
down the power lines, shorting out the computer systems inside the
Tranian nuclear complex.

81 The CIA worked with Mossad, Israel’s spy service, on the plan,

and Mossad agents volunteered to smuggle the devices into Iran, The

Israelis told the CIA that they had Iranian agents who would carry
out the plan on their behalf.

82 But there were major technical-problems that made the plan un-
workable. The electromagnetic devices were so large that they had to
be carried in a large truck, and then parked next to the power lines;
the CIA realized that was impossible.

83 Then there was MERLIN. On paper, MERLIN was supposed to

, stunt the development of Tehran’s nuclear program by sending
Iran's weapons experts down the wrong technical path. The CIA be-
lieved that once the Iranians had the blueprints and studied them,
they would believe the designs were usable and so would start to

‘build an atom bomb based on the flawed designs. But Tehran would
get a big surprise when its scientists tried to explode their new bomb.
Instead of a mushroom cloud, the Iranian scientists would witness a
disappointing fizzle. The Iranian nuclear program would suffer a
humiliating setback, and Tehran’s goal of becoming a nuclear power
would have been delayed by several years. In the meantime, the CIA,
by watching Iran’s reaction to the blueprints, would have gained a
wealth of information about the status of Iran's weapons program,
which has been shrouded in secrecy.

84 It's not clear who originally came up with the idea, but the plan
was first approved by President Bill Clinton. After the Russian scien-
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~ tist’s fateful trip to Vienna, however, the MERLIN operation was en-
dorsed by the Bush administration, possibly with an eye toward re-
- peating it against North Korea or other dangerous states.

85 The CIA had obtained genuine. Russian nuclear weapons blue-
prints from a Russian scientist and had forwarded them to one of the
national laboratories —almost certainly Sandia National Laborato-
ries in New Mexico—to be scrutinized by American nuclear experts.
Sandia, in Albuquerque, is one of the jewels in the crown of the
American nuclear establishment. Its origins were in the so-called
Z Division of the Los Alamos Nationa! Laboratory during the Man-
hattan Project. Z Division conducted the engineering and design
work for the nonnuclear portions of the first atomic bomb, including
the weapons assembly. Sandia thus houses the U.S. government's in-
stitutional memory for how a nuclear bomb is put together.

86 Scientists at the national laboratory were asked to implant flaws
into the Russian blueprints. The Haws were supposed to be so clever
and well hidden that no one could detect their presence. _ :

87 Next, the agency needed to figure out how to get the designs to
the Iranians without Tehran realizing that the blueprints were com-
ing frora the CIA.

88 That job was assigned to the CIA's Counterproliferation Divi-

sion. The CPD chose the Russian defector.

89 ‘That was the idea behind MERLIN, anyway. But like so many of
the CIA's other recent operations, this one didn’t go according to
plan. First, of course, the Russian spotted flaws in the blueprints. Sec-
ond, the CIA never maintained adequate controls over the nuclear

~ blueprints—or over the Russian. The Russian was supposed to be-
lieve that he was handing over genuine nuclear designs. Instead, his
cover letter may have convinced the Iranians to be wary of the blue-
prints. Furthermore, the CIA also gave the blueprints to the Iranians
without any certain way of monitoring their use by Iranian scientists.
The CIA was flying blind—dangerously so. In effect, the CIA asked
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the Russian to throw the blueprints over the transom, and then the
agency just hoped for the best. :

90 ‘Several former CIA officials say that the theory behind MERLIN— _
handing over tainted weapons designs to confound one of America’s
adversaries——is a trick that has been used many times in past opera-
tions, stretching back to the Cold War. But in previous cases, such
Trojan horse operations involved conventional weapons; none of the
former officials had ever heard of the CIA attempting to conduct this
kind of high-risk operation with designs for a nuclear bomb. The
former officials also said these kind of programs must be closely
monitored by senior CIA managers in order to control the flow ofin-
formation to the adversary. If mishandled, they could easily help an

enemy accelerate its weapons development.

91 That may be what happened with MERLIN.

92 The-CIA ‘case officer was deeply concerned by the ease with
which the Russian had discovered flaws in the designs. He knew that
that meant the Iranians could, too, and that they could then fix and
make use of the repaired blueprints to help them build a bomb. If so,
the CIA would have assisted the Iranians in joining the nuclear club.
He grew so concerned about whether he had aided the Iranian nu-
clear program that he went to the Senate Select Committee on Intel-
ligence to tell congressional investigators about the problems with
the program. But no action was ever taken.

93 For his part, the Russian never understood why the CIA wanted

. him to give the Iranians blueprints that contained such obvious mis-
takes. It made no sense. And so he wrote the Iranians his personal
letter.

94  Icis not known whether the Russian ever communicated again
with the Iranians, or whether they tried to contact him. Bpt after re-
ceiving his letter warning them that they would need further help to:
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make the blueprints useful, it is entirely possible that the Iranians
showed the plans to other experts familiar with Russian nuclear de-
signs and thereby identified the defects,

Tran has spent nearly twenty years trying to develop nuclear
weapons, and in the process has created a strong base of sophisticated
scientists knowledgeable enough to spot flaws in nuctear blueprints.
What's more, the Iranians have received extensive support for years
from Russian and Chinese nuclear experts who could help the Irani-
ans review the material. In addition, Tehran also obtained nuclear

_ blueprints from the black-market network of Pakistani scientist

A. Q. Khan, and so already had workable blueprints against which to
compare the designs obtained from the CIA. _

Even if the Iranians were interested in using the blueprints pro-
vided by the mysterious Russian, they would certainly examine and
test the data in the documents before ever actually trying to build a
bomb. Nuclear experts say that they would thus be able to extract
valuable information from the blueprints while ignoring the flaws.

“If a country of seventy million inhabitants [Iran], with quite a
good scientific and technical community, got [nuclear documents
with supposedly hidden flaws], they might learn something,”
warned a nuclear weapons expert with the IAEA. “If [the flaw] is
bad enough, they will find it quite quickly. That would be my fear.”

MERLIN has been conducted in the darkest corner of the American

national security establishment at one of the most significant mo-
ments in the long and bitter history of U.S.-Iran relations. Iran has
bedeviled American presidents since Jimmy Carter and the embassy
hostage crisis, and neither Bill Clinton nor George W. Bush have

based their policies on an adequate understanding of the volatile po-

litical dynamics under way in Iran.
Throughout the late 1990s, the Clinton administration was con-_
vinced that political reformers and youthful moderates were asten-

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dant in Iran, and so the White House twisted itself in knots trying to
open back-channel talks. with Tehran, But in order to reach out to the
Tranians, Clinton had to downplay evidence that Tehran was still che
world's leading state sponsor of terrorism, that Iran was still an Is-
lamic republic whose security apparatus was controlled by powerful,
conservative mullahs who wanted nothing to do with the United
States, and that the Iranian regime was eager to become a nuclear
power,

100 Critics say that Clinton and his lieutenants repeatedly tried co ig-
nore intelligence indicating that Iran was linked to the deadly Kho-
bar Towers bombing in Dhahran, Saudi Arabia in June 1996, which
killed nineteen American military personnel. Saudi Hezbollah, an
offshoot of the Lebanese-based extremist group backed by Iran, car-
ried out the attack, and it did so with training and logistical support
from Iran.

1401 —sSenior CYA officials played an important role in the Clinton ad- .
ministration’s efforts to downplay evidence of Iran’s terrorist ties in
the late 1990s, according to several CIA sources. In 1996 or 1997, a
well-placed officer with the Ministry of Intelligence and Security,
Iran’s foreign intelligence service, was cooperating with the CIA. In
meetings in Europe, just months after the Khobar attack occurred,
thé Iranian source provided the CIA with evidence that Iran was be-
hind the bombing, according to CIA officials. The Iranian told the
CIA he had been meeting with several senior Iranian officials after
the bombing, and they were celebrating their successful operation.
He also told his CIA contact that sometime after the Khobar bomb-
ing, an American government aircraft had secretly landed in Tehran,
carrying a.senior American official. Several top Iranian officials went
out to the airport to meet the American, the source said.

102 To the officers working on the CIA's Iran Task Force handling
the reporting from this Iranian source, it appeared that the Clinton
ddministration was cutting a secret deal with Tehran just after nine-
teen Americans had been murdered by the same regime. Senior CIA ~
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officials responded to this explosive intelligence by suppressing it, ac-
cording to several CIA sources. According to one CIA source, re-
ports from the Iranian source were delivered to high-ranking CIA
officials, but none of the reports was dissemninated throughout the in- °
telligence community, and no record of the reports was distributed
inside the CIA. It is not known whether President Clinton or other
top White House officials were ever told about the reports from the ©
Iranian source. Certainly, then—FBI Director Louis J. Freeh believed
that President Clinton and his lieutenants were downplaying intelli-

" gence concerning Iran's involvement in Khobar Towers. As he has
' recently detailed in his memoirs, his anger over the way the Khobar

case was handled by the Clinton administration was at the heart of
his long-running dispute with the White House.-It is not known —
whether Freeh was ever told about the reports from the source who
detailed Iran’s role, however.

Tt wasn’t until June 2001, five years after the bombing, and after
Clinton had left office, that the Justice Department issued indict-
ments of fourteen people in the Khobar bombing that alleged that
unidentified Iranian officials were behind the terrorist attack.

The indictment notwithstanding, in its first few months, the new
Bush team largely ignored Iran while obsessing over Iraq. It was only
after 9/11 that senior Bush administration officials began to pay at-
tention to low-level, back-channel talks with Iran that had been

‘under way in Geneva since the Clinton days,

Through those Geneva meetings, the Bush team discovered that

‘Iran was strongly supportive of the U.S.-led invasion of Afghanistan.

because of Tehran’s deep hatred for the ruling Taliban, Sunni Mus-
lims heavily dependenton Pakistani support to retain power in Kabul.
Shia~dominated Iran long feated the Taliban’s radical influence on
its own Sunni minority. Tehran also wanted to retain its influence
over western Afghanistan, particularly the trading center of Herat.
‘In 1998, Iran and the Taliban had come close to a shooting war.
After nine Iranian diplomats were murdered in Afghanistan and

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- thousands of Shiites were killed following the Taliban seizure of che

" northern city of Mazar-i-Sharif, Iran massed troops on the border for

a military “exercise,” and Pakistan had to step in to calm things

down. At the time, Iran's leader, Ayatollah Ali Khamenei, made it

clear that Iran's patience with the Taliban was wearing thin. “I have

so far prevented the lighting of a fire in this region which would be

hard to extinguish, but all should know that a very great and wide

danger is quite near,” he declared, prorapting a response from the

. Taliban that the cleric’s statements reflected his “mental ineptitude.”

107 Iran had also supported the opposition Northern Alliance against

the Taliban, and after 9/11, Iranian officials at the Geneva meetings

were actually impatient with the sluggish start to Arnerican military

operations in Afghanistan. Publicly, the Iranians said little about the

war and provided little overt support to che Americans, apart from

promising to allow rescue operations for any downed pilots over its

territory. But in Geneva, Iranian officials were eager to help and even

~ brought out maps to try to tell the United States the best targets to

bomb. :

108 Iran also held some al Qaeda operatives who tried to Ree
Afghanistan into Iran. In early 2002, Iran detained about 290 al .

Qaeda fighters who had been picked up as they crossed the border.

They weren't willing to turn them over directly to the United States,

but they eventually did hand over some to third countries, such as

| Egypt, Saudi Arabia, and Pakistan, which were working with the

United States. -

109  Butby that time, the Bush administration’s attitude toward Iran was

changing, hardening. Iran was now a member of the “axis of evil.”

The Iranians responded to Bush’s axis of evil speech with pique;

. Tehran released Gulbuddin Hekmatyar, a ruthless Afghan warlord

who. had been on the CIA payroll during the 1980s but who was now
opposed to the American occupation of Afghanistan. Soon after his ©
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release, Hekmatyarc’s Hezb-i-Islami forces were battling U.S, troops
in Afghanistan, and in May 2002 the CIA launched a missile from an
armed Predator drone ina vain effort to try to kill him.

110 © The 2003 U.S. invasion of Iraq, on Iran’s other border, was met
with deep ambivalence in Tehran. The Iranians were happy that the
United States was getting rid of their old enemy Saddam Hussein,
opening the door for Iraq’s majority Shia population to gain power,
with, of course, the guidance of Iran. But two consecutive wars in
two neighboring countries, first in Afghanistan and now Iraq, had
placed thousands of American troops on Iran’s exposed flanks, and so
it was not hard to see why the Iranians might be getting a little para-
noid about the Bush administration’s intentions.

111 In May 2003, one month after the fall of Baghdad, the [ranians
approached the United States once again, offering to turn over top al
Qaeda lieutenants, including both Saif al-Adel, al Qaeda's chief
of operations, and Saad bin Laden, Osama bin Laden’s son. This
time, the Iranians wanted a trade; in return for the al Qaeda lead-
ers, Tehran wanted the Americans to hand over members of the
Mujahedin-e Khalq (MEK), an Iranian exile terrorist organization
that had been supported by Saddam Hussein and based in Iraq since
1986. After the fall of Baghdad, the U.S. military had disarmed the
MEK’’s thousands of fighters and taken custody of the group's heavy
military equipment, more than two thousand tanks, artillery pieces,
armored personnel carriers, and other vehicles provided by Saddam
Hussein. But the Bush administration was divided over what to do
with the group next.

112. = Inaprincipalscommittee mudting at the White House in May, the
Iranian prisoner exchange proposal was discussed by President Bush
and his top advisors. According to people who were in the meeting,

’ President Bush said that he thought it sounded like a good deal, since
the MEK. was a terrorist organization. After all, the MEK had beena
puppet of Saddam Hussein, conducting assassinations and sabotage
operations inside Iran from its sanctuary in Iraq. The MEK was offi-

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cially listed as a foreign terrorist group by the State Department; back
in the 1970s, the group had killed several Americans living in Iran, in-
cluding CIA officers based there during the shah’s regime,

Before any exchange could be conducted, the United States

_ would need solid assurances from the Iranians that the MEK mem-

bers would not be executed or tortured; in the end, that obstacle may

have made any such prisoner trade impossible.
But the idea never got that far. Hard-liners at the Pentagon dug

in and ultimately torpedoed any talk of an agreement with the Irani-
ans, Defense Secretary Donald Rumsfeld and Deputy Secretary Paul

_ Wolfowitz seemed to think that the MEK could be useful in a future

war with Iran, and so they appeared eager to keep the group in place
inside Irag. CIA and State Department officials were stunned that

- the Pentagon leadership would so openly flaunt their willingness to

cuta deal with the MEK; they were even more surprised that Rums-
feld and Wolfowitz paid no price for their actions. At the White
House, officials soon learned that the Pentagon was dreaming up ex-
cuses to avoid following through on any further actions to rein in the
MEK. One argument was that the military was too busy, with too
many other responsibilities in Iraq, to devote the manpower to dis-
mantling the MEK. The Pentagon basically told the White House
that “we will get around to ic when we get around to it,” noted one
former Bush administration official. “And they got away with it.”

The bottom line was that the United States lost a potential oppor-
tunity to get its hands on several top al Qaeda operatives, including
Osama bin Laden's son. It became clear to frustrated aides that Na-
tional Security Advisor Condoleezza Rice was not only failing to .
curb the Pentagon, but was also allowing decision making on Iran
policy to drift.

The MEK'’s political arm, the National Council of Resistance of Iran,
understands how to gain attention in the West, particularly after
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watching the prewar success of the Iraqi National Congress, the
Iraqi exile group headed by Ahmed Chalabi. Like Chalabi’s group,
the Iranian exiles have used the American press to issue claims about
Iran’s nuclear weapons and ballistic missile programs in order to
build the case for a tougher U.S. policy toward Tehran.

While the wat in Iraq has overshadowed the issue and forced the
Bush administration to move slowly, some administration officials

have been advocating a more forceful policy of pressuring the Irani-

ans to disarm. The odds of a confrontation between the United States
and Iran seemed to increase in the fall and winter of 2004, when the
IAEA reported that Iran was not fully cooperating with interna-
tional inspectors, and there were new reports that Iran was going
ahead with plans to produce enriched uranium despite past assur-
ances to the JAEA that it would freeze such activity. By 2005, Iran’s
apparent intentions to continue to develop i its nuclear program was

‘inevitably leading to a full-fledged diplomatic crisis.
